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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ANGELA GONNEVILLE, individually           )                C.A. NO.: 1:24-cv-11110
and on behalf of all others similarly     )
situated,                                 )
                                          )
      Plaintiff                           )
                                          )
v.                                        )
                                          )
LENS.COM, INC.                            )
                                          )
      Defendant                           )
__________________________________________)

                   CERTIFICATE PURSUANT TO LOCAL RULE 7.1

      Plaintiff’s counsel certifies that they have conferred with defense counsel regarding this

Motion.

                                                    On behalf of the Plaintiff,

                                                    /s/ Carlin J. Phillips                .
                                                    Carlin J. Phillips, BBO#561916
                                                    PHILLIPS & GARCIA, P.C.
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